            Case 5:06-cr-00010-RMW           Document 18       Filed 03/09/06     Page 1 of 2




1
2
3
4
5
6
7
8
                                 UNITED STATES DISTRICT COURT
9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN JOSE DIVISION
11                                                                    *E-FILED - 3/9/06*
12   UNITED STATES OF AMERICA,      )                    No. CR 06-00010-RMW
                                    )
13             Plaintiff,           )
                                    )
14        v.                        )                    ORDER OF THE COURT EXCLUDING
                                    )                    TIME
15                                  )
     SALVADOR MACIAS-VALENCIA and )
16   HECTOR JAVIER MACIAS-VALENCIA, )
                                    )
17             Defendants.          )
                                    )
18                                  )
19
        The above-captioned case came before the court on Monday, February 27, 2006 at 9:00 a.m.
20
     for status hearing. The defendants were personally present and were represented by counsel.
21
     Counsel for the United States was present. At the conclusion of the hearing, the court ruled as
22
     follows:
23
        Upon request of the government and the defendants, the court hereby sets this case for a
24
     further status hearing before the Honorable Ronald M. Whyte to take place on Monday, April 24,
25
     2006 at 9:00 a.m.
26
        Pursuant to Title 18, United States Code, Section 3161(h)(8), the court excludes the period of
27
     time from February 27, 2006 through and including April 24, 2006, from the computation of the
28

     ORDER EXCLUDING TIME CR 06-00010-RMW
            Case 5:06-cr-00010-RMW             Document 18      Filed 03/09/06      Page 2 of 2



     period of time within which the trial must commence. The court FINDS that the ends of justice
1
     served by the delay outweigh the best interest of the public and the defendants in a speedy trial.
2
     The court bases this finding on the need of the defense to prepare transcripts of Spanish-
3
     language audio recordings of conversations between the defendants and a DEA undercover agent
4
     and to afford counsel the reasonable time necessary for effective preparation, within the meaning
5
     of 18 U.S.C. Section 3161(h)(8)(B)(iv).
6
7
        IT IS SO ORDERED.
8
9
     DATED:      3/9/06
10
11                                          /s/ Ronald M. Whyte
                                           RONALD M. WHYTE
12                                         United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER EXCLUDING TIME CR 06-00010-RMW
                                     2
